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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

IN RE:
DAGMAR I KERN                                                       BCN #: 18-13273-BFK
AND                                                                 Chapter: 7
HANS P KERN
Debtors
Address: 15238 Louis Mill Dr
Chantilly, VA 20151-1317
15238 Louis Mill Dr
Chantilly, VA 20151-1317
Last four digits of Social Security No.(s): XXX-XX-1031 and
XXX-XX-1760

                            NOTICE OF MOTION AND HEARING

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult one.

        If you do not wish the Court to grant the relief sought in this motion, or if you want the
Court to consider your views on this motion, then within fourteen (14) days from the date of
service of this motion, you must file a written response explaining your position with the Court at
the following address: Clerk of Court, United States Bankruptcy Court, 200 South Washington
Street, Alexandria, VA 22314, and serve a copy on the Movant. Unless a written response is filed
and served within this fourteen day period, the Court may deem any opposition waived, treat the
motion as conceded, and issue an Order granting the requested relief without further notice or
hearing.

       If you mail your response to the Court for filing, you must mail it early enough so the
Court will receive it on or before the expiration of the fourteen day period.

      You may attend the preliminary hearing scheduled to be held on: November 21, 2018 at
9:30 AM in Courtroom I, United States Bankruptcy Court, 200 South Washington Street,
Alexandria, VA 22314.




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       If you or your attorney do not take these steps, the Court may decide that you do not
oppose the relief sought in the motion and may enter an Order granting the requested relief.

SHAPIRO & BROWN, LLP                                          Dated: October 8, 2018
ATTORNEYS FOR THE MOVANT

/s/ Mary F. Balthasar Lake ______________________
BY: Gregory N. Britto, Esquire, VSB #23476
William M. Savage, Esquire, VSB #26155
Malcolm B. Savage, III, Esquire, VSB #91050
Thomas J. Gartner, Esquire, VSB #79340
Mary F. Balthasar Lake, Esquire, VSB #34899
Matthew Beddingfield, Esquire, VSB #87305
SHAPIRO & BROWN, LLP
501 Independence Parkway, Suite 203
Chesapeake, Virginia 23320
(703) 449-5800
VABECF@logs.com

                                  CERTIFICATE OF SERVICE

        I certify that I have this 8th day of October, 2018, electronically transmitted and/or mailed
by first class mail, postage pre-paid, a true copy of the foregoing Notice of Motion to the
following:

Robert R. Weed
Law Offices Of Robert Weed
1376 Old Bridge Rd
Suite 101-4
Woodbridge, VA 22192

H. Jason Gold
Nelson Mullins Riley & Scarborough LLP
101 Constitution Avenue, N.W. Suite 900
Washington, DC 20001

Dagmar I Kern
15238 Louis Mill Dr
Chantilly, VA 20151-1317

Hans P Kern
15238 Louis Mill Dr
Chantilly, VA 20151-1317

/s/ Mary F. Balthasar Lake
Gregory N. Britto, Esquire, VSB #23476
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                                  United States Bankruptcy Court
                                   Eastern District of Virginia
                                       Alexandria Division

In Re:                                              BCN#: 18-13273-BFK
Hans P Kern and Dagmar I Kern                       Chapter: 7
        Debtors
Lehman XS Trust Mortgage Pass-Through
Certificates, Series 2006-GP2, U.S. Bank
National Association, as Trustee                    Motion for Order Granting Relief from
        Movant/Secured Creditor,                    Automatic Stay under 11 USC §362
v.
Dagmar I Kern and Hans P Kern
        Debtors
and
H. Jason Gold
        Trustee
        Respondents

       Lehman XS Trust Mortgage Pass-Through Certificates, Series 2006-GP2, U.S. Bank

National Association, as Trustee, and/or present noteholder, (hereinafter “the Movant”), alleges

as follows:

       1.        That the bankruptcy court has jurisdiction over this contested matter pursuant to

28 U.S.C. § 157 and § 1334 and 11 U.S.C. § 362; Federal Rule of Bankruptcy Procedure 9014;

and Local Bankruptcy Rule 4001(a)-1.

       2.        That the above named Debtors filed a Chapter 7 Petition in Bankruptcy with this

Court on September 27, 2018.

       3.        That H. Jason Gold has been appointed by this Court as the Chapter 7 Trustee in

this instant Bankruptcy proceeding.

       4.        That the subject Deed of Trust secures a parcel of real property (hereinafter “the

Property”) with the address of 15238 Louis Mill Dr, Chantilly, VA 20151 and more particularly

described in the Deed of Trust dated March 27, 2006 and recorded as Deed Book 18339, Page

2054 among the land records of the said city/county, as:



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         LOT 206, SECTION THREE, PLEASANT VALLEY SUBDIVISION, AS THE
         SAME APPEARS DULY DEDICATED, PLATTED, AND RECORDED IN
         DEED BOOK 4963 AT PAGE 49, AMONG THE LAND RECORDS OF
         FAIRFAX COUNTY, VIRGINIA

         5.      That the Movant is informed and believes, and, based upon such information and

belief, alleges that title to the Property is currently vested in the name of the Debtors.

         6.      That the Debtors are in default with regard to payments which have become due

under the terms of the Note and Deed of Trust.

         As of October 2, 2108, the Debtors are due for:
         o       6 monthly payments from April 2018 through September 2018 of $2,141.79 each
                 which were to be paid directly to Movant;
         o       1 monthly payments from October 2018 through October 2018 of $2,174.97 each
                 which were to be paid directly to Movant;
         o       Bankruptcy Fees of                                           $750.00
         o       Bankruptcy Costs of                                          $181.00


         7.      Movant has elected to initiate foreclosure proceedings on the Property with

respect to the Deed of Trust, but is prevented by the Automatic Stay from going forward with

these proceedings.

         8.      That the Movant is informed and believes, and, based upon such information and

belief, alleges that the Debtors have little or no equity in the property as there is a second Deed of

Trust.

         9.      That the Movant is informed and believes that the Debtors intend to surrender the

property based upon the Statement of Intentions filed September 27, 2018.

         10.     That continuation of the automatic stay pursuant to 11 U.S.C. § 362(a) will work

real and irreparable harm and deprive the Movant of the adequate protection to which it is

entitled under 11 U.S.C. § 362.




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       11.       That the Movant has requested that the Court hear this matter on November 21,

2018 at 9:30 AM.

       WHEREFORE, Movant prays for an order granting relief from the Automatic Stay in

order to pursue its remedies under the terms of its Note and Deed of Trust, that the fourteen (14)

day waiting period imposed by F.R.B.P. 4001(a)(3) be waived, for its attorneys fees’ and costs

expended, and for such other and further relief as the Court and equity deem appropriate.

SHAPIRO & BROWN, LLP                                        Dated: October 8, 2018
ATTORNEYS FOR THE MOVANT




/s/ Mary F. Balthasar Lake
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VSB #23476
William M. Savage, Esquire
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                                       Certificate of Service



        I certify that I have this 8th day of October, 2018, electronically transmitted and/or mailed
by first class mail, true copies of the Motion for Relief from the Automatic Stay and Notice of
Motion and Hearing to each party required to receive notice.

Robert R. Weed
Law Offices Of Robert Weed
1376 Old Bridge Rd
Suite 101-4
Woodbridge, VA 22192

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